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 9
                        IN THE UNITED STATES DISTRICT COURT
10
                              FOR THE DISTRICT OF ARIZONA
11
12   F.R., on his own behalf and on behalf of             No. CV-21-00339-PHX-DLR
     his minor child A.A.,
13
                       Plaintiff,
                                                         NOTICE OF SETTLEMENT
14          v.
15   The United States of America,
16
                        Defendant.
17
18          NOTICE IS HEREBY GIVEN that the parties have reached a conditional settlement
19   in this matter. The parties will file a stipulated motion to dismiss this case with prejudice,
20   each party to bear its own costs and fees, once the minor’s portion of the settlement is
21   approved by a court of competent jurisdiction and the settlement funds are disbursed.
22          The parties respectfully request that the Court stay all case management deadlines
23   pending resolution of this matter.
24          RESPECTFULLY SUBMITTED this 20th day of October, 2023.
25    RUKIN HYLAND & RIGGIN LLP                         GARY M. RESTAINO
                                                        United States Attorney
26    s/ Peter Rukin (with permission)                  District of Arizona
      Peter S. Rukin
27    Jessica Lee Riggin                                s/ Katherine R. Branch
      Attorneys for Plaintiff                           Assistant United States Attorney
28                                                      Attorneys for Defendant
